Case 1:22-cv-00384-JSR Document 104 Filed 12/30/22 Page1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HERMES INTERNATIONAL and
HERMES OF PARIS, INC.,

22-cv-384 (JSR)
Plaintiffs,
ORDER

-against-
MARTIN ROTHSCHILD,

Defendant.

JED S. RAKOFF, U.S.D.J.:

In this trademark action, plaintiffs Hermés International and
Hermés of Paris, Inc. (“Hermés”) and defendant Martin Rothschild have
each moved for summary judgment. After careful consideration of the
briefing and oral argument, the Court hereby denies the parties’
motions for summary judgment.

An opinion explaining the reasons for these rulings will issue
by January 20, 2023, and the parties are reminded that trial of this
case will commence on January 30, 2023. The Clerk is directed to close

the motions (items 59 and 60) on the docket.

SOQ ORDERED.
New York, NY DQ OYA.
December 30, 2022 JEWS. RAKOFF;—U.S.D.J.

